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                          UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA
                                GREENSBORO DIVISION

     In Re:                                     )
                                                )
     Avery Bradley Green,                       )         Case No.: B-17-11043 C-7G
                                                )
                     Debtor.                    )

     APPLICATION TO APPROVE EMPLOYMENT OF REAL ESTATE BROKER

      NOW COMES the undersigned Trustee in this case, pursuant to Section 327(a) of the
Bankruptcy Code, and respectfully states to the Court:

       1.      It is necessary or advisable for the Trustee to have the services of a real estate
broker to assist in selling certain real estate owned by the Debtor, with any such sale subject to
approval of the Court and the Trustee.

       2.      Thomas Somerville with eXp REO Brokers, Inc. is a duly qualified real estate
broker with experience in such matters, and the Trustee wishes to use his services as real estate
broker in this case. Attached hereto as an exhibit is the proposed listing agreement for the
broker’s employment in selling the real estate.

        3.      To the best of the Trustee’s knowledge, the proposed real estate broker has no
connection with the Debtor, creditors or any other party-in-interest, or their respective attorneys
or accountants and is eligible under the Bankruptcy Code for employment for the purposes set
forth in this application.

        Wherefore, the Trustee requests that the Court enter an Order authorizing the Trustee to
retain Thomas Somerville as real estate broker with such services to be compensated from the
estate pursuant to Bankruptcy Code §330(a), subject to the review and approval by the
Bankruptcy Court as part of the application to approve any sale, if and only if there occurs a
private sale in accordance with the listing agreement attached to this application.

       Respectfully submitted on this the 10th day of September, 2018.



                                                     s/ Everett B. Saslow, Jr.
                                                     Everett B. Saslow, Jr.
                                                     N.C. State Bar No. 7301

OF COUNSEL:
HILL EVANS JORDAN & BEATTY
A Professional Limited Liability Company
Post Office Box 989
Greensboro, North Carolina 27402
Telephone: (336) 379-1390
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                                              EXCLUSIVE RIGHT TO SELL LISTING AGREEMENT
                                       [Consult "Guidelines" (Form 101G) for guidance in completing this form]
This       EXCLUSIVE               RIGHT
                                      TO SELL LISTING AGREEMENT ("Agreement") is entered into between
                                    Everett B. Saslow, Jr. Trustee                                              as Seller(s) ("Seller") of
the property described below (the "Property"), and                               EXO REO BROKERS                                        as
Listing Firm ("Firm"). The individual agent who signs this Agreement shall, on behalf of the Firm, be primarily responsible for
ensuring that the Firm's duties hereunder are fulfilled; however, it is understood and agreed that other agents of the Firm may be
assigned to fulfill such duties if deemed appropriate by the Firm. For purposes of this Agreement, the term "Firm," as the context may
require, shall be deemed to include the individual agent who signs this Agreement and any other agents of the Firm.
In consideration for Firm's services and efforts to find a buyer for the Property, Firm is hereby granted the exclusive right to sell the
Property on the terms and conditions set forth in this Agreement.
Seller represents that as of the Effective Date the Seller is not (or will not be, if the Property is currently listed) a party to a
listing agreement with any other real estate firm regarding the Property. Seller also represents that Seller has received a copy
of the "WORKING WITH REAL ESTATE AGENTS" brochure and has reviewed it with Firm.
1.   TERM OF AGREEMENT.
     (a) Term. The term of this Agreement ("Term") shall begin on its Effective Date and shall end at midnight on its Expiration Date.
     (b) Effective Date. This Agreement shall become effective and the Seller and Firm's respective rights and obligations under this
Agreement shall commence ("Effective Date") as follows (check appropriate box):
         X The Effective Date shall be the date that this Agreement has been signed by both Seller and Firm
             The Property is currently listed for sale exclusively with another real estate firm. Seller represents that the current listing
agreement expires on                                     . The Effective Date of this Agreement shall commence immediately upon the
expiration of the current listing agreement. (NOTE: According to Article 16 of the REALTORS® Code of Ethics: "REALTORS® shall
not engage in any practice or take any action inconsistent with exclusive representation or exclusive brokerage relationship
agreements that other REALTORS® have with clients.")
     (c) Expiration Date. This Agreement shall terminate at midnight on                                       ("Expiration Date").
2. PROPERTY. The Property that is the subject of this Agreement shall include all that real estate described below together with
all appurtenances thereto including the improvements located thereon and the fixtures and personal property listed in Paragraphs 3 and
4 below.
      Street Address: 7103 MACKINTOSH PL
      City: SUMMERFIELD                                                                            Zip 27358
      County: GUILFORD                                                      , North Carolina
       NOTE: Governmental authority over taxes, zoning, school districts, utilities and mail delivery may differ from address shown.
       Legal Description: (Complete ALL applicable)
            Plat Reference: Lot/Unit             , Block/Section                  , Subdivision/Condominium
                                                              , as shown on Plat Book/Slide       119     at Page(s)                                                   84
        The PIN/PID or other identification number of the Property is: 0149465
        Other description: 32 PH2 PB 119-84 TROTTER RIDGE II
Some or all of the Property may be described in Deed Book               4536                at Page              280
3.   FIXTURES AND EXCLUSIONS.
     (a) Specified Items: Unless identified in subparagraph (d) below, the following items, including all related equipment and remote
control devices, if any, are deemed fixtures and shall convey, included in the Purchase Price free of liens:
     • Alarm and security systems (attached) for security, fire,          • Ceiling and wall-attached fans; light fixtures (including
        smoke, carbon monoxide or other toxins with all related              existing bulbs)
        access codes, sensors, cameras, dedicated monitors, hard          • Fireplace insert; gas logs or starters; attached fireplace
        drives, video recorders, power supplies and cables;                  screens; wood or coal stoves
        doorbells/chimes                                                  • Floor coverings (attached)
     • All stoves/ranges/ovens; built-in appliances; attached             • Fuel tank(s) whether attached or buried and including any
        microwave oven; vent hood                                            contents that have not been used, removed or resold to the
     • Antennas; satellite dishes and receivers                              fuel provider as of Settlement. NOTE: Seller’s use, removal
     • Basketball goals and play equipment (permanently                      or resale of fuel in any fuel tank is subject to Seller’s
        attached or in-ground)                                               obligation under Paragraph 8(c) of the Offer to Purchase and
                                                                                     Page 1 of 10
                                                                                                                                                       STANDARD FORM 101
                                                                                                                                                             Revised 7/2017
              Individual agent initials                       Seller initials                                                                                      © 7/2017
EXP REO BROKERS INC, 3150 N Elm Street Greensboro NC 27408                                                         Phone: (336)387-2236       Fax: (336)740-9096   7103 MACKINTOSH
Thomas Somerville                           Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com
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         Contract (form 2-T) to provide working, existing utilities                        •   Storage shed; utility building
         through the earlier of Closing or possession by Buyer.                            •   Swimming pool (excluding inflatable); spa; hot tub
     •   Garage door openers with all controls                                             •   Solar electric and solar water heating systems
     •   Generators that are permanently wired                                             •   Sump-pumps, radon fans and crawlspace ventilators;
     •   Invisible fencing with power supply, controls and receivers                           de-humidifiers that are permanently wired
     •   Landscape and outdoor trees and plants (except in moveable                        •   Surface-mounting brackets for television and speakers;
         containers); raised garden; landscape and foundation                                  recess-mounted speakers; mounted intercom system
         lighting; outdoor sound systems; permanent irrigation                             •   Water supply equipment, including filters, conditioning and
         systems and controls; rain barrels; landscape water features;                         softener systems; re-circulating pumps; well pumps and
         address markers                                                                       tanks
     •   Mailboxes; mounted package and newspaper receptacles                              •   Window/Door blinds and shades, curtain and drapery rods
     •   Mirrors attached to walls, ceilings, cabinets or doors; all                           and brackets, door and window screens and combination
         bathroom wall mirrors                                                                 doors, awnings and storm windows
     (b) Items Leased or Not Owned: Any item which is leased or not owned by Seller, such as fuel tanks, antennas, satellite dishes
and receivers, appliances, and alarm and security systems must be identified here and shall not convey:

                                                                                                                                                             .
     (c) Other Fixtures/Unspecified items: Unless identified in subparagraph (d) below, any other item legally considered a fixture is
included in the Purchase Price free of liens.
     (d) Other Items That Do Not Convey: The following items shall not convey (identify those items to be excluded under
subparagraphs (a) and (c)):
                                                                                                                       .
Seller shall repair any damage caused by removal of any items excepted above.
4.   PERSONAL PROPERTY. The following personal property shall be transferred to Buyer at no value at Closing:

                                                                                                                                                             .
5. HOME WARRANTY. Seller                agrees X does not agree to obtain and pay for at settlement a one year home warranty for
the Property at a cost not to exceed $                         . If Seller agrees to obtain and pay for a home warranty at any time, Firm
hereby discloses that a fee of                          will be offered to Firm by the person or entity through or from which any home
warranty is obtained as compensation to Firm for its assistance in obtaining the home warranty, and Seller hereby consents to Firm's
receipt of such fee.
6.   LISTING PRICE. Seller lists the Property at a price of $                                                         on the following terms:
    Cash      FHA        VA      USDA         Conventional       Loan Assumption        Seller Financing     Other                          .
Seller agrees to sell the Property for the Listing Price or for any other price or on any other terms acceptable to Seller.
7.   FIRM'S COMPENSATION.
     (a) Fee. Seller agrees to pay Firm a total fee of                            6.000                       % of the gross sales price of the Property, OR

("Fee"), which shall include the amount of any compensation paid by Firm as set forth in paragraph 8 below to any other real estate
firm, including individual agents and sole proprietors ("Cooperating Real Estate Firm").
      (b) Fee Earned. The Fee shall be deemed earned under any of the following circumstances:
           (i) If a ready, willing and able buyer is procured by Firm, a Cooperating Real Estate Firm, the Seller, or anyone else
during the Term of this Agreement at the price and on the terms set forth herein, or at any price and upon any terms acceptable to the
Seller;
           (ii) If the Property is sold, optioned, exchanged, conveyed or transferred, or the Seller agrees, during the Term of this
Agreement or any renewal hereof, to sell, option, exchange, convey or transfer the Property at any price and upon any terms
whatsoever; or
           (iii) If the circumstances set out in (i) or (ii) above have not occurred, and if, within     0         days after the Expiration
Date ("Protection Period"), Seller either directly or indirectly sells, options, exchanges, conveys or transfers, or agrees to sell, option,
exchange, convey or transfer the Property upon any terms whatsoever, to any person with whom Seller, Firm, or any Cooperating Real
Estate Firm communicated regarding the Property during the Term of this Agreement or any renewal hereof, provided the names of
such persons are delivered or postmarked to the Seller within 15 days after the Expiration Date. HOWEVER, Seller shall NOT be
obligated to pay the Fee if a valid listing agreement is entered into between Seller and another real estate broker and the Property is
subsequently sold, optioned, exchanged, conveyed or transferred during the Protection Period.
                                                                            Page 2 of 10                                                  STANDARD FORM 101
                                                                                                                                                Revised 7/2017
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     (c)   Fee Due and Payable. Once earned as set forth above, the Fee will be due and payable at the earlier of:
           (i) Closing on the Property;
           (ii) The Seller's failure to sell the Property (including but not limited to the Seller's refusal to sign an offer to purchase the
Property at the price and terms stated herein or on other terms acceptable to the Seller, the Seller's default on an executed sales contract
for the Property, or the Seller's agreement with a buyer to unreasonably modify or cancel an executed sales contract for the Property);
or
           (iii) Seller's breach of this Agreement.
      (d) Transfer of Interest in Business Entity. If Seller is a partnership, corporation or other business entity, and an interest in the
partnership, corporation or other business entity is transferred, whether by merger, outright purchase or otherwise, in lieu of a sale of
the Property, and applicable law does not prohibit the payment of a fee or commission in connection with such sale or transfer, the Fee
shall be calculated on the fair market value of the Property, rather than the gross sales price, multiplied by the percentage of interest so
transferred, and shall be paid by Seller at the time of the transfer.
      (e) Additional Compensation. If additional compensation, incentive, bonus, rebate and/or other valuable consideration
("Additional Compensation") is offered to the Firm from any other party or person in connection with a sale of the Property, Seller will
permit Firm to receive it in addition to the Fee. Firm shall timely disclose the promise or expectation of receiving any such Additional
Compensation and confirm the disclosure in writing before Seller makes or accepts an offer to sell. (NOTE: NCAR Form #770 may be
used to confirm the disclosure of any such Additional Compensation).
      (f) Attorney Fees and Costs. If Firm is the prevailing party in any legal proceeding brought by Firm against Seller to recover
any or all of the Fee, Firm shall be entitled to recover from Seller reasonable attorney fees and court costs incurred by Firm in
connection with the proceeding.
8. COOPERATION WITH/COMPENSATION TO OTHER FIRMS. Firm has advised Seller of Firm's company policies
regarding cooperation and the amount(s) of any compensation that will be offered to other brokers, including but not limited to, seller
subagents, buyer agents or both, brokers who do or do not participate in a listing service and brokers who are or are not REALTORS®.
Seller authorizes Firm to (Check ALL applicable authorizations):
      X Cooperate with subagents representing the Seller and offer them the following compensation:            3.000        % of the gross
sales price or $                                   ; and/or,
      X Cooperate with buyer agents representing the buyer and offer them the following compensation:           3.000       % of the gross
sales price or $                                   ; and/or,
          Cooperate with and compensate other Cooperating Real Estate Firms according to the Firm's attached policy.
Firm will promptly notify Seller if compensation offered to a Cooperating Real Estate Firm is different from that set forth above.
Agents with Cooperating Real Estate Firms must orally disclose the nature of their relationship with a buyer (subagent or buyer agent)
to Firm at the time of initial contact with Firm, and confirm that relationship in writing no later than the time an offer to purchase is
submitted for the Seller's consideration. Seller should be careful about disclosing confidential information because agents representing
buyers must disclose all relevant information to their clients.
9. FIRM'S DUTIES. Firm agrees to provide Seller the benefit of Firm's knowledge, experience and advice in the marketing and
sale of the Property. Seller understands that Firm makes no representation or guarantee as to the sale of the Property, but Firm agrees to
use its best efforts in good faith to find a buyer who is ready, willing and able to purchase the property. In accordance with the
REALTORS® Code of Ethics, Firm shall, with Seller's approval, in response to inquiries from buyers or Cooperating Real Estate
Firms, disclose the existence of offers on the Property. Where Seller authorizes disclosure, Firm shall also disclose whether offers were
obtained by the individual agent who signs this Agreement, another agent of the Firm, or by a Cooperating Real Estate Firm. Seller
acknowledges that real estate brokers are prohibited by N.C. Real Estate Commission rule from disclosing the price or other material
terms contained in a party's offer to purchase, sell, lease, rent or option real property to a competing party without the express authority
of the party making the offer.

Seller acknowledges that Firm is required by law to disclose to potential purchasers of the Property all material facts pertaining to the
Property about which the Firm knows or reasonably should know, and that REALTORS® have an ethical responsibility to treat all
parties to the transaction honestly. Seller further acknowledges that Firm is being retained solely as a real estate professional, and
understands that other professional service providers are available to render advice or services to Seller, including but not limited to an
attorney, insurance agent, tax advisor, surveyor, structural engineer, home inspector, environmental consultant, architect, or contractor.
Although Firm may provide Seller the names of providers who claim to perform such services, Seller understands that Firm cannot
guarantee the quality of service or level of expertise of any such provider. Seller agrees to pay the full amount due for all services
directly to the service provider whether or not the transaction closes. Seller also agrees to indemnify and hold Firm harmless from and
against any and all liability, claim, loss, damage, suit, or expense that Firm may incur either as a result of Seller's selection and use of
any such provider or Seller's election not to have one or more of such services performed.

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                                                                                                                                               Revised 7/2017
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THE AGENT (FIRM) SHALL CONDUCT ALL BROKERAGE ACTIVITIES IN REGARD TO THIS AGREEMENT
WITHOUT RESPECT TO THE RACE, COLOR, RELIGION, SEX, NATIONAL ORIGIN, HANDICAP OR FAMILIAL
STATUS OF ANY PARTY OR PROSPECTIVE PARTY TO THE AGREEMENT. FURTHER, REALTORS® HAVE AN
ETHICAL DUTY TO CONDUCT SUCH ACTIVITIES WITHOUT RESPECT TO THE SEXUAL ORIENTATION OR
GENDER IDENTITY OF ANY PARTY OR PROSPECTIVE PARTY TO THIS AGREEMENT.
10. MARKETING.
      (a) Commencement of Marketing. The Firm is authorized to commence marketing the Property as described in subparagraph
(b) below on the Effective Date OR, if selected on (insert date only if applicable)                    (“Delayed Marketing
Date”).
NOTE: If a Delayed Marketing Date is selected, Seller understands and acknowledges the following:
     • THE PROPERTY MAY NOT BE SHOWN BY ANY REAL ESTATE AGENT, INCLUDING FIRM’S AGENTS, PRIOR TO
        THE DELAYED MARKETING DATE.
     • FIRM IS OBLIGATED TO PRESENT TO SELLER ANY OFFERS ON THE PROPERTY THAT MAY BE SUBMITTED TO
        FIRM PRIOR TO THE DELAYED MARKETING DATE.
     • IT IS IN THE BEST INTEREST OF MOST SELLERS TO GET THE HIGHEST POSSIBLE PRICE ON THE BEST TERMS
        FOR THEIR PROPERTY, AND MAXIMIZING EXPOSURE OF THEIR PROPERTY ADVANCES THAT INTEREST.
        ACCEPTING AN OFFER ON THE PROPERTY BEFORE IT IS FULLY EXPOSED TO THE WIDEST GROUP OF
        POTENTIAL BUYERS MAY DENY SELLER THE BEST OPPORTUNITY TO ATTRACT OFFERS AT THE HIGHEST
        PRICE AND BEST TERMS.
     (b) Marketing Authorization. Seller authorizes Firm (Check ALL applicable sections):
     X Signs. To place "For Sale," "Under Contract," "Sale Pending," or other similar signs on the Property (where permitted by law
         and relevant covenants) and to remove other such signs.
     X Open Houses. To conduct open houses of the Property at such times as Seller and Firm may subsequently agree.
     X Listing Service. To submit pertinent information concerning the Property to any listing service of which Firm is a member or
         in which any of Firm's agents participate and to furnish to such listing service notice of all changes of information concerning
         the Property authorized in writing by Seller. Seller authorizes Firm, upon execution of a sales contract for the Property, to
         notify the listing service of the pending sale and the expiration date of any due diligence period, and upon closing of the sale,
         to disseminate sales information, including sales price, to the listing service, appraisers and real estate brokers.
     X Lock/Key Boxes. The Seller X does                does not authorize Firm to place lock/key boxes on the Property.
     X Advertising Other Than On The Internet. To advertise the Property in non-Internet media, and to permit other firms to
         advertise the Property in non-Internet media to the extent and in such manner as Firm may decide.
     X Internet Advertising. To display information about the Property on the Internet either directly or through a program of any
         listing service of which the Firm is a member or in which any of Firm’s agents participate. Seller further authorizes other firms
         who belong to any listing service of which the Firm is a member or in which any of Firm’s agents participate to display
         information about the Property on the Internet in accordance with the listing service rules and regulations, and also authorizes
         any listing service of which the Firm is a member or in which any of Firm’s agents participate to use, license or sell to others
         information about the Property entered into the listing service. Seller specifically authorizes the display of the address of the
         Property, automated estimates of the market value of the Property and third-party comments about the Property. If seller
         desires to limit or prohibit Internet advertising as set forth above, seller must complete an opt-out form in accordance with
         listing service rules.
        NOTE: NCAR Form #105 may be used to limit or prohibit Internet advertising and explains how such limitations may or
        may not be effective.

     (c) “Coming Soon” Advertising.         (Check only if applicable). If applicable, Firm is authorized to market the Property as
“Coming Soon,” commencing on the Effective Date, in any media Firm may in its discretion select, provided that any “Coming Soon”
advertising shall be conducted in accordance with any restrictions and requirements of any listing service in which the Property will be
included, a copy of which      are     are not attached to this Agreement.
      (d) Seller Acknowledgement. Seller acknowledges and understands that while the marketing services selected above
will facilitate the showing and sale of the Property, there are risks associated with allowing access to and disseminating information
about the Property that are not within the reasonable control of the Firm, including but not limited to:
      (i) unauthorized use of a lock/key box,
      (ii) control of visitors during or after a showing or an open house, including the taking and use of photographs and videos of the
            Property
      (iii) inappropriate use of information about the Property placed on the Internet or furnished to any listing service in which the
            Firm participates, and
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     (iv) information about the Property placed on the Internet by or through any listing service in which the Firm participates which is
          inaccurate or dated.
Seller therefore agrees to release and discharge Firm and Firm’s agents from any and all claims, demands, rights and causes of action of
whatsoever kind and nature not caused by Firm’s negligence arising directly or indirectly out of any such marketing services.
WARNING: IT MAY BE A CRIME UNDER FEDERAL AND STATE LAWS TO LISTEN TO OR RECORD AN ORAL
COMMUNICATION THROUGH THE USE OF ANY ELECTRONIC, MECHANICAL, OR OTHER DEVICE WITHOUT THE
CONSENT OF A PARTY TO THAT COMMUNICATION. If there is a video/audio/surveillance device(s) on the Property, Seller is
advised: (i) that no audio surveillance device may be turned on during any showings, open houses, investigations, examinations or
inspections of the Property; and (ii) that the placement of any video surveillance device should not violate a visitor’s reasonable
expectation of privacy.

11. EARNEST MONEY. Unless otherwise provided in the sales contract, any initial and additional earnest money deposits and any
other earnest monies paid in connection with any transaction shall be held by the Firm, in escrow, until the consummation or
termination of the transaction. Any earnest money forfeited by reason of the buyer's default under a sales contract shall be divided
equally between the Firm and Seller. In no event shall the sum paid to the Firm because of a buyer's default be in excess of the fee that
would have been due if the sale had closed as contemplated in the sales contract. In accordance with NC General Statutes Section
93A-12, if a dispute regarding the return or forfeiture of any earnest money deposit arises between Seller and the buyer, the escrow
agent holding the deposit may deposit the disputed monies with the appropriate Clerk of Court following written notice to the parties.
In the event of any such dispute, Seller directs Firm to disclose Seller's last known mailing address to the escrow agent upon request to
enable the escrow agent to comply with the notice requirement of such law.
12. SELLER REPRESENTATIONS.
     (a) Flood Hazard Disclosure/Insurance. To the best of Seller's knowledge, the Property        is X is not located partly or entirely
within a designated Special Flood Hazard Area. The Seller      does X does not currently maintain flood hazard insurance on the
Property.
     (b) Synthetic Stucco. To the best of Seller's knowledge, the Property has not been clad previously (either in whole or in part)
with an "exterior insulating and finishing system," commonly known as "EIFS" or "synthetic stucco", unless disclosed as follows:
NO REPRESENTATION                                                                                                                        .
     (c) Owners' Association.
             (i) Complete ONLY if the Residential Property and Owner's Association Disclosure Statement is required: The name,
address and telephone number of the president of the owners' association or the association manager is: TROTTER RIDGE HOA

Owners' association website address, if any:
The name, address and telephone number of the president of the owners' association or the association manager is:

Owners' association website address, if any:
            (ii) Complete ONLY if New Construction or where the Residential Property and Owner's Association Disclosure Statement
is NOT required: To the best of Seller's knowledge there         is      is not an owners' association which imposes various mandatory
covenants, conditions and restrictions upon the Property. If there is an owners' association, Seller agrees to promptly complete an
Owners' Association Disclosure and Addendum For Properties Exempt from Residential Property Disclosure Statement (Standard Form
2A12-T) at Seller's expense and to attach it as an addendum to any contract for the sale of the Property.
     (d) Termite Bond. To the best of Seller's knowledge there             is X is not a termite bond on the Property. If there is a termite
bond, it    is      is not transferable. If transferable, the transfer cost is $                             , and the bonding company is:
                                                                                                                                           .
     (e) Ownership. Seller represents that Seller:
         X has owned the Property for at least one year;
               has owned the Property for less than one year
               does not yet own the Property
If Seller does not yet own the Property, Seller agrees to promptly provide Firm information pertaining to Seller's acquisition of the
Property, such as a copy of a sales contract or option for the Property, and to keep Firm timely informed of all developments pertaining
to Seller's acquisition of the Property.
     (f) Receipt of Sample Forms.
           X Seller acknowledges receipt of a sample copy of an Offer to Purchase And Contract (form 2-T) or Offer to Purchase and
               Contract–New Construction (form 800-T), as may be appropriate for review purposes.
           X Seller acknowledges receipt of a sample copy of a Professional Services Disclosure and Election form (form #760) for
               review purposes.
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                                                                                                                         Revised 7/2017
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      (g) Current Liens. Seller represents to the best of Seller's knowledge:
           (1) The Property X is            is not encumbered by a deed of trust or mortgage. Complete any of the following where
                applicable:
                (i) There is a first deed of trust or mortgage on the Property securing a loan held by:
                      Lender Name:
                      Approximate balance: $                                     Lender Phone#:
                      Lender Address:
                (ii) There is a second deed of trust or mortgage on the Property securing a loan held by:
                      Lender Name:
                      Approximate balance: $                                     Lender Phone#:
                      Lender Address:
                (iii) There is a deed of trust or mortgage on the Property securing an equity line of credit held by:
                      Lender Name:
                      Approximate balance: $                                     Lender Phone#:
                      Lender Address:
           (2) Seller is current on all payments for the loans identified in numbered items (i), (ii) and (iii) above except as specified in
(7) below.
           (3) Seller is not in default on any loan identified in numbered items (i), (ii) and (iii) above and has not received any notice(s)
from the holder of any loan identified in numbered items (i), (ii) and (iii) above or from any other lien holder of any kind, regarding a
default under the loan, threatened foreclosure, notice of foreclosure, or the filing of foreclosure except as specified in (7) below.
           (4) There are not any liens secured against the Property for Federal, State or local income taxes, unpaid real property taxes,
unpaid condominium or homeowners' association fees, mechanics', laborers' or materialmen's liens, or other liens affecting the
Property, and Seller has no knowledge of any matter that might result in a lien affecting the Property except as specified in (7) below.
           (5) There are not any judgments against Seller affecting the Property, and Seller has no knowledge of any matter that might
result in a judgment that may potentially affect the Property except as specified in (7) below.
           (6) There are not any Uniform Commercial Code (UCC) fixture filings affecting the Property, and Seller has no knowledge
of any matter that might result in a UCC fixture filing affecting the Property except as specified in (7) below.
           (7) Specify any information, including approximate balances, required by Seller representations (2) through (6) above
NOTE: Outstanding liens may affect Seller’s net proceeds :


     (h) Bankruptcy. Seller currently:
           (1) X is        is not under bankruptcy protection under United States law.
           (2)      is     is not contemplating seeking bankruptcy protection during the term of this Agreement.
     (i) Access. Seller represents that the Property has legal access to a public right of way. If access is by private
road/easement/other, Seller further represents that there      is    is not an agreement regarding the maintenance of such private
road/easement/other means of access. If applicable, Seller agrees to promptly provide Firm information pertaining to any such
agreement.
     (j) Lease(s). To the best of Seller's knowledge, the Property       is X is not subject to any lease(s). If applicable:
           (i) Seller agrees to promptly provide Firm a copy of any such lease(s) or a written statement of the terms of any oral lease(s);
           (ii) If the Property is managed by someone other than Seller, the manager’s name and contact information is as
follows:                                                                                                                                    .
Seller authorizes any such manager to release and disclose to Firm any relevant information about any leases(s) and to cooperate with
Firm in the sale of the Property.
     (k) FHA Appraisal. To the best of Seller's knowledge, an FHA appraisal           has X has not been performed on the Property
within four months prior to the Effective Date. If applicable, Seller agrees to promptly provide Firm a copy of any such appraisal if
available.
NOTE: Any such appraisal may or may not be binding on a buyer who intends to obtain FHA financing.
     (l) Special Assessments. To the best of Seller's knowledge, there are no Proposed or Confirmed Special Assessments (as
defined in the sample contract form provided to Seller) regarding the Property except as follows (Insert "none" or the identification of
such assessments, if any): None

     (m) Manufactured (Mobile) Home. Complete ONLY if there is a manufactured (mobile) home(s) on the Property that Seller
intends to include as a part of the sale of the Property: VIN(s):                                                             or VIN(s)
unknown. Other description (year, model, etc.):
     (n) Fuel Tank/Fuel: To the best of Seller’s knowledge, there            is X is not a fuel tank(s) located on the Property. If “yes”
complete the following to the best of Seller’s knowledge:
                Ownership of tank 1:        owned      leased. If leased, the name and contact information of tank lessor is:

               Location of tank 1:           above ground               below ground
               Type of fuel:                 oil    propane                gasoline and/or diesel                 other:
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                Refilling schedule:     auto-refill (insert frequency):                          other (describe):
                Name and contact information of fuel vendor:
                Ownership of tank 2:    owned        leased. If leased, the name and contact information of tank lessor is:

                Location of tank 2:       above ground         below ground
                Type of fuel:             oil      propane        gasoline and/or diesel  other:
                Refilling schedule:       auto-refill (insert frequency):                        other (describe):
                Name and contact information of fuel vendor:
If, during the term of this Agreement, Seller becomes aware that any of the representations set forth in this paragraph 12 are incorrect
or no longer accurate, Seller shall promptly notify Firm and cooperate with Firm in taking appropriate corrective action.
13. SELLER'S DUTIES. Seller agrees to cooperate with Firm in the marketing and sale of the Property, including but not limited to:
      (a) providing to Firm, in a timely manner, accurate information including but not limited to the following:
           (i) Residential Property and Owner’s Association Disclosure Statement (unless exempt);
           (ii) Mineral and Oil and Gas Rights Mandatory Disclosure Statement (unless exempt); and
           (iii) Lead-Based Paint or Lead-Based Paint Hazard Addendum with respect to any residential dwelling built prior to 1978.
      (b) making the Property available for showing (including working, existing utilities) at reasonable times and upon reasonable
notice;
      (c) providing Firm as soon as reasonably possible after the execution of this Agreement copies of the following documents
(where relevant) in the possession of Seller:
           (1) restrictive covenants affecting the Property;
           (2) bylaws, articles of incorporation, rules and regulations, and other governing documents of the owners' association and/or
the subdivision;
           (3) title insurance policies, attorney's opinions on title, surveys, covenants, deeds, notes and deeds of trust and easements
relating to the Property.
      Seller authorizes (1) any attorney presently or previously representing Seller to release and disclose any title insurance policy in
such attorney's file to Firm, (2) the Property’s title insurer or its agent to release and disclose all materials in the Property's title insurer's
(or title insurer's agent's) file to Firm, and (3) the owners’ association manager (or other authorized representative) to release and
disclose copies of all documents referenced in subparagraphs (c)(1) and (c)(2) above. Seller acknowledges and understands that Firm is
under no obligation to acquire any of the information referenced in this subparagraph (c) or to verify the accuracy of any such
information that may be provided to Firm.
      (d) immediately referring to Firm all inquiries or offers it may receive regarding the Property; showing the Property only by
appointment made by or through Firm; and conducting all negotiations through Firm;
      (e) executing and delivering at settlement a GENERAL WARRANTY DEED conveying fee simple marketable title to the
Property, including legal access to a public right of way, free of all encumbrances except ad valorem taxes for the current year, utility
easements, rights-of-way, and unviolated restrictive covenants, if any, and those encumbrances that the buyer agrees to assume in the
sales contract.
Seller represents that the Seller has the right to convey the Property, and that there are currently no circumstances that would prohibit
the Seller from conveying fee simple marketable title as set forth in the preceding sentence, except as follows (insert N/A if not
applicable):


NOTE: If any sale of the Property may be a “short sale,” consideration should be given to attaching NCAR form 104 as an addendum
to this Agreement.
     (f) providing Firm, in a timely manner, any information necessary (including any information omitted under Paragraph 12) to
enable Firm to prepare an estimate of Seller's net proceeds at settlement. Seller acknowledges and understands that any such estimate is
an approximation only and that Seller should verify the accuracy of the calculations.
     (g) if required by N.C.G.S. §44A-11.1, timely designating a Lien Agent, and providing Firm as soon as reasonably possible a
copy of the appointment of Lien Agent.

14. HOME INSPECTION: Seller is advised to obtain a home inspection for the purpose of evaluating the condition of the Property
in order to enhance its marketability and to help reduce concerns of prospective buyers. Seller      agrees X does not agree to obtain
and pay for a home inspection by a licensed NC Home Inspector within                days after the execution of this agreement.
X    Seller acknowledges receipt of a copy of Questions and Answers on: Home Inspections by the NC Real Estate Commission.

15. PHOTOGRAPHS AND OTHER MATERIALS: Firm is specifically authorized to use, for any purposes whatsoever, any and
all photographs, drawings, video, advertising copy or other information obtained by or provided to Firm pursuant to this Agreement
(including but not limited to any information concerning the price and terms of the sale of the Property, the description of the Property

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and the length of time the Property is on the market) (“Materials”), both before and after the sale or, in the event there is not a sale,
after this Agreement has expired. Seller shall not have or acquire any rights to use any of the Materials created by, on behalf of, or at
the direction of Firm or an agent of Firm either during or after the Term of this Agreement without Firm’s written consent. If Seller
provides any Materials to Firm (“Seller Materials”), Seller represents that Seller owns the Seller Materials or otherwise has the legal
right to provide the Seller Materials to Firm, and Seller grants to Firm and any listing service in which Firm or its agents participate a
non-exclusive, perpetual license to use the Seller Materials, including the rights to display, reproduce, distribute or make derivative
works from the Seller Materials. Seller agrees to indemnify and hold Firm and its agents harmless for any and all claims resulting from
use of the Seller Materials under the terms of this license.
16. ADDITIONAL TERMS AND CONDITIONS. The following additional terms and conditions shall also be a part of this
Agreement: Trustee Addendum



17. DUAL AGENCY. Seller understands that the potential for dual agency will arise if a buyer who has an agency relationship with
Firm becomes interested in viewing the Property. Firm may represent more than one party in the same transaction only with the
knowledge and informed consent of all parties for whom Firm acts.
      (a) Disclosure of Information. In the event Firm serves as a dual agent, Seller agrees that without permission from the party
about whom the information pertains, Firm shall not disclose to the other party the following information:
           (1) that a party may agree to a price, terms, or any conditions of sale other than those offered;
           (2) the motivation of a party for engaging in the transaction, unless disclosure is otherwise required by statute or rule; and
           (3) any information about a party which that party has identified as confidential unless disclosure is otherwise required by
                statute or rule.
      (b) Firm's Role as Dual Agent. If Firm serves as agent for both Seller and a buyer in a transaction involving the Property, Firm
shall make every reasonable effort to represent Seller and buyer in a balanced and fair manner. Firm shall also make every reasonable
effort to encourage and effect communication and negotiation between Seller and buyer. Seller understands and acknowledges that:
           (1) Prior to the time dual agency occurs, Firm will act as Seller's exclusive agent;
           (2) In its separate representation of Seller and buyer, Firm may obtain information which, if disclosed, could harm the
                bargaining position of the party providing such information to Firm;
           (3) Firm is required by law to disclose to Seller and buyer any known or reasonably ascertainable material facts.
Seller agrees Firm shall not be liable to Seller for (i) disclosing material facts required by law to be disclosed, and (ii) refusing or
failing to disclose other information the law does not require to be disclosed which could harm or compromise one party's bargaining
position but could benefit the other party.
      (c) Seller's Role. Should Firm become a dual agent, Seller understands and acknowledges that:
           (1) Seller has the responsibility of making Seller's own decisions as to what terms are to be included in any purchase and
sale agreement with a buyer client of Firm;
           (2) Seller is fully aware of and understands the implications and consequences of Firm's dual agency role as expressed
herein to provide balanced and fair representation of Seller and buyer and to encourage and effect communication between them rather
than as an advocate or exclusive agent or representative;
           (3) Seller has determined that the benefits of dual agency outweigh any disadvantages or adverse consequences;
           (4) Seller may seek independent legal counsel to assist Seller with the negotiation and preparation of a purchase and sale
agreement or with any matter relating to the transaction which is the subject matter of a purchase and sale agreement.
Should Firm become a dual agent, Seller waives all claims, damages, losses, expenses or liabilities, other than for violations of the
North Carolina Real Estate License Law and intentional wrongful acts, arising from Firm's role as a dual agent. Seller shall have a duty
to protect Seller's own interests and should read any purchase and sale agreement carefully to ensure that it accurately sets forth the
terms which Seller wants included in said agreement.
     (d) Authorization (initial only ONE).
              Seller authorizes the Firm to act as a dual agent, representing both the Seller and the buyer, subject to the terms and
              conditions set forth in Paragraph 17.
              Seller desires exclusive representation at all times during this agreement and does NOT authorize Firm to act in the
              capacity of dual agent. If Seller does not authorize Firm to act as a dual agent, the remainder of this paragraph shall
              not apply.
     (e) Designated Agent Option (Initial only if applicable).
               Seller hereby authorizes the Firm to designate an individual agent(s) to represent the Seller. The individual designated
               agent(s) shall represent only the interests of the Seller to the extent permitted by law.

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NOTE: When dual agency arises, an individual agent shall not practice designated agency and shall remain a dual agent if the
individual agent has actually received confidential information concerning a buyer client of the Firm in connection with the transaction
or if designated agency is otherwise prohibited by law.

18. MEDIATION. If a dispute arises out of or related to this Agreement or the breach thereof, and if the dispute cannot be settled
through negotiation, the parties agree first to try in good faith to settle the dispute by mediation before resorting to arbitration,
litigation, or some other dispute resolution procedure. If the need for mediation arises, the parties will choose a mutually acceptable
mediator and will share the cost of mediation equally.




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19. ENTIRE AGREEMENT/CHANGES/TERMINATION. This Agreement constitutes the entire agreement between Seller and
Firm and there are no representations, inducements, or other provisions other than those expressed herein. This Agreement may be
signed in multiple originals or counterparts, all of which together constitute one and the same instrument. All changes, additions, or
deletions to this Agreement must be in writing and signed by both Seller and Firm. Seller acknowledges and understands that this
Agreement constitutes a binding contract between Seller and Firm. Although Seller may at any time withdraw from the fiduciary
relationship existing between Seller and Firm, the contract created by this Agreement may not be terminated by Seller or Firm prior to
its Expiration Date without legally sufficient cause. Any such termination shall be by mutually-acceptable written agreement signed by
both Seller and Firm. Seller and Firm each acknowledge receipt of a signed copy of this Agreement.
THE NORTH CAROLINA ASSOCIATION OF REALTORS®, INC. MAKES NO REPRESENTATION AS TO THE LEGAL
VALIDITY OR ADEQUACY OF ANY PROVISION OF THIS FORM IN ANY SPECIFIC TRANSACTION.

Seller:            Everett B. Saslow, Jr. Trustee
                              Print Name                                                                    Signature                                 Date

Contact Information:
                               Home                               Work                                   Cell                                 Email

Mailing Address:


Seller:
                                   Print Name                                                               Signature                                 Date

Contact Information:
                               Home                               Work                                   Cell                                 Email

Mailing Address:


Entity Seller:
                 (Name of LLC/Corporation/Partnership/Trust/etc.)

By:                                                                                                                                        Date:


Name:                                                                                                 Title:


Contact Information:
                               Home                               Work                                   Cell                                 Email

Mailing Address:


Firm:                                       EXO REO BROKERS                                                                     Phone:     336.387.2236
                                         Print Real Estate Firm Name
                                                                                                                                         9/5/2018 7:34:49 AM PDT
By:                                                                                                    190717
                  Individual Agent Signature                                                  Individual License Number                               Date
                   Thomas Somerville
Office: EXO REO BROKERS


Address: 3150 N ELM ST #201-B, GREENSBORO, NC                                    27408


Office Phone: (336)387-2236                           Fax:                                          Email: thomass@exprealty.com




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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing Application to Approve Employment of
Real Estate Broker was served by United States First Class Mail, upon the following parties:

                    Thomas Somerville
                    eXp REO Brokers
                    3150 N. Elm St., Ste. 201-B
                    Greensboro, NC 27408

       This the 10th day of September, 2018.

                                                   s/ Everett B. Saslow, Jr.
                                                   Everett B. Saslow, Jr.
